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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

DEWAYNE GRIFFIN-LOWERY,

           Plaintiff,                                    Civil Action 11-13751
v
                                                         HON. ARTHUR J. TARNOW
COUNTY OF WAYNE, BENNY N.
NAPOLEON, Sheriff of Wayne County,
JERIEL D. HEARD, MATTHEW JOHN
CZARNECKI, and DOUGLAS HUGHES,
jointly and severally,

         Defendants.
_______________________________________/

                            STIPULATED ORDER
                 RE DISBURSEMENT OF SETTLEMENT PROCEEDS

           The parties having stipulated to the entry of this Order as evidenced by their

signatures below, and the Court being fully advised in the premises,

           IT IS HEREBY ORDERED THAT plaintiff’s counsel shall place the settlement

proceeds in the firm’s IOLTA trust account, and, out of those funds, shall transmit the sum of

$17,480.00 to the Michigan State Disbursement Unit to satisfy the 8/9/12 Lien Order of the

Genesee County Circuit Court in Case No 1998-209446-DP, and shall send a copy of that

disbursement to counsel for defendants.


                                                 s/Arthur J. Tarnow
Dated: October 3, 2012                           UNITED STATES DISTRICT JUDGE

I stipulate to the entry of the above order and waive notice of hearing thereon:

    /s/ Gerald F. Posner
    Attorney for Plaintiff

    /s/ Margaret M. Flanagan
    Attorney for Defendants
